    Case 2:21-cv-06218-JAK-E Document 63 Filed 10/26/21 Page 1 of 1 Page ID #:380

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. CV 21-6218 JAK (E)                                      Date October 26, 2021

Title: United States of America v. Faizul Islam

Present: The Honorable Charles F. Eick




                Valencia Munre
                Deputy Clerk                                    Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
John L. Lulejian, AUSA                             Ajay Kusnoor, FPD




Proceedings:    G In Court          G In Chambers       G Counsel Notified

G Case previously closed in error. Make JS-5.

G Case should have been closed on entry dated                           .

G Case settled but may be reopened if settlement is not consummated within                       days.
  Make JS-6.

✘ Other Make JS-6. Case should have been termed pursuant to Dkt. 61 dated September 20, 2021
G

G Entered                                  .




                                                                 Initials of Preparer       vm




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
